Case 8:03-cr-00343-JSM-AAS Document 244 Filed 03/28/11 Page 1 of 2 PageID 1128




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



 UNITED STATES OF AMERICA,

        Plaintiff(s),

 v.                                                Case No: 8:03-CR-343-T-30EAJ

 GERALD WRIGHT,

       Defendant(s).
 ___________________________________/

                                          ORDER

        THIS CAUSE came on for consideration upon the Report and Recommendation

 submitted by Magistrate Judge Elizabeth A. Jenkins (Dkt. #242). The Court notes that neither

 party filed written objections to the Report and Recommendation and the time for filing such

 objections has elapsed.

        After careful consideration of the Report and Recommendation of the Magistrate

 Judge in conjunction with an independent examination of the file, the Court is of the opinion

 that the Magistrate Judge's Report and Recommendation should be adopted, confirmed, and

 approved in all respects.

        ACCORDINGLY, it is therefore, ORDERED AND ADJUDGED:

        1.     The Report and Recommendation (Dkt. #242) of the Magistrate Judge is

 adopted, confirmed, and approved in all respects and is made a part of this order for all


                                         Page 1 of 2
Case 8:03-cr-00343-JSM-AAS Document 244 Filed 03/28/11 Page 2 of 2 PageID 1129




 purposes, including appellate review.

          2.       Defendant's Motion for Leave to Appeal In Forma Pauperis (Dkt. #237) is

 DENIED.

          DONE and ORDERED in Tampa, Florida on March 28, 2011.




 Copies Furnished to:
 Counsel/Parties of Record

 F:\Docs\2003\03-cr-343.adopt 242.wpd




                                          Page 2 of 2
